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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Henry Owedo

 

 

Plaintiff
VS. Civil Action No. 4° /6-CY~ OIE B83
WMATH#H
Defendant
NOTICE OF APPEAL
Notice is hereby given this /4 day of March ,20/8 _ , that

trenry OWedo

hereby appeals to the United States Court of Appeals for the District of Columbia Circuit from
the judgment of this Court entered onthe /¢ dayof March , 20/8

in favor of UM4aryg

against said #7 Ep ry Oviedo

hay Onneda

Q Attorney or Pro Se Litigant

Hite Georgianpa Ln.
Owing s; MD. 20936

Address and Phone Number

Y10~ 2597-59423
(Pursuant to Rule 4(a) of the Federal Rules of Appellate Procedure a notice of appeal in a civil action
must be filed within 30 days after the date of entry of judgment or 60 days if the United States or

officer or agency is a party)

CLERK Please mail copies of the above Notice of Appeal to the following at the addresses indicated:

RECEIVED
MAR 12208

Clerk, US. District & Bankr uptey
Courts tor the District ef Columbia
